         Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 1 of 7



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 CENTRAL DIVISION

                                                           C.A. NO. 4:15-CV-40106-DHH

 ARY L. ASSUNCAO, Individually and as            )
 Personal Representative of the                  )
 ESTATE OF MARLENE MIRANDA,                      )
    Plaintiff,                                   )
                                                 )
 v.                                              )
                                                 )
 LEONARD MORSE HOSPITAL and                      )
 JANET MAGNANI, M.D.,                            )
   Defendants.                                   )



 MEMORANDUM OF LAW OF DEFENDANT, JANET MAGNANI, M.D. IN SUPPORT OF
         MOTION TO COMPEL FURTHER DISCOVERY RESPONSES


       Now comes the defendant, Janet Magnani, M.D. and submits this Memorandum of Law

in support of her Motion to Compel Further Discovery Responses by the plaintiff.

I.     BACKGROUND

       This civil action involves claims of medical malpractice against the defendant, Janet

Magnani, M.D., as well claims for violation of the Emergency Medical Treatment and Active

Labor Act against defendant, Leonard Morse Hospital. The plaintiff claims that Dr. Magnani was

negligent in treating the decedent, Marlene Miranda for rib fractures and pneumothorax while

Ms. Miranda was a patient at the Emergency Department at Leonard Morse Hospital on July 24,

2013. As a result, plaintiff claims Ms. Miranda suffered a wrongful death and conscious pain and

suffering.
         Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 2 of 7



       At the time of filing of the Complaint, UMass Memorial Medical Center, Inc., Jeanine

Ward, M.D., John Haran, Jr., M.D., and Ulises Torres Cordero, M.D. (hereinafter “UMass

defendants”) were also named defendants in this action. However, shortly after filing the

Complaint, in October of 2015, the plaintiff reached a settlement with these defendants. The

amount of the settlement has not been disclosed.

       On July 12, 2016, the defendant, Dr. Magnani served Interrogatories and a Request for

Production of Documents directed to the plaintiff, Ary Assuncao. By these discovery requests,

Dr. Magnani sought information related to settlement entered into by and between the plaintiff

and the UMass defendants. Plaintiff responded by objecting to the disclosure of the settlement

amount and Release(s) executed by the plaintiff. The relevant Interrogatory and Request, along

with plaintiff’s answer and response, are set forth below:

Interrogatory No. 23
If you have settled your claims against former defendants, UMass Medical Center, Dr. Haran,
Dr. Cordero, and/or Dr. Ward, please set forth the date such settlement(s) was reached and all
monetary amount(s) received in consideration of your release of your claims against these
defendants.
The plaintiff responded as follows:


OBJECTION BY ATTORNEY: Plaintiff objects to the disclosure of the monetary amount of the
settlement for the release of claims against former defendants UMass Memorial Medical Center,
Dr. Haran, Dr. Cordero, and Dr. Ward. Plaintiff will disclose the amount of the settlement when
judgment enters.
ANSWER NO. 23. I settled with former defendants in October of 2015.


REQUEST No. 19
Copies of all Releases executed by or on behalf of the plaintiff in connection with any settlement
of claims against UMass Medical Center, Dr. Haran, Dr. Cordero, and/or Dr. Ward.




                                                 2
         Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 3 of 7



Response No. 19
Plaintiff objects to the production of any correspondence or documents which may be privileged,
confidential, and/or attorney work-product. Plaintiff has received payment from former
defendants in this case, however this settlement confidential. Plaintiff will disclose the amount of
the settlement when a judgment enters. Plaintiff is withholding the executed release and has
attached a privilege log.


Counsel for Dr. Magnani conferred with counsel for the plaintiff via telephone on September 15,

2016 in attempt to reach an agreement regarding disclosure of the settlement agreement and the

production of the requested Releases. Despite discussion, an agreement could not be reached. As

such, this matter is now before the Court on the Defendants, Motion to Compel further answer to

Interrogatory number 23 and production of documents responsive to Request number 19.

II.    ARGUMENT

       Under the Federal Rules of Civil Procedure, the scope of discovery is broad. Rule 26(b)

provides, in pertinent part:

            “Parties may obtain discovery regarding any nonprivileged matter that is
            relevant to any party’s claim or defense and proportional to the needs of
            the case, considering the importance of the issues at stake, the amount in
            controversy…Information within this scope of discovery need not be
            admissible in evidence to be discoverable.” Fed.R.Civ.P. 26(b).


“If there is some legitimate relevance to the requested information and if no cognizable privilege

attaches, it ought to be discoverable…” Bennett v. LaPere, 112 F.R.D. 136, 138 (D.R.I. 1986).

       It is clear that discovery related to the settlement agreement between the plaintiff and the

UMass defendants is relevant to the instant litigation. First, the damages that the plaintiff may be

able to collect from the remaining defendants should they prevail at trial is directly dependent on

the amount paid by the UMass defendants to the plaintiff in settlement of the case against them.


                                                 3
         Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 4 of 7



The plaintiff acknowledges this, by his discovery responses, stating that the settlement amount

will be disclosed should a judgment enter in his favor. However, Dr. Magnani should not be

forced to wait until such a judgment enters to discover this highly relevant information. The

remaining defendants should not be forced to defend this action with blinders on. The defendant

cannot assess the value of this litigation and her potential exposure without knowing the amount

already paid to the plaintiff in settlement of this case.

        In attempting to keep secret the amount and terms of the settlement with the UMass

defendants, the plaintiff has raised asserted both the confidentiality of the agreement and the

attorney work product doctrine. First, courts have clearly held that the terms of a confidential

settlement can be discovered where relevant to the action at hand. See Atchison Casting Corp. v.

Marsh, Inc., 216 F.R.D. 225, 226 (D.Mass. 2003). Where a settlement agreement from a prior

lawsuit “concerns the very facts underlying the parties' dispute” and “bears directly on the

damages Plaintiff seeks,” discovery of the settlement agreement is appropriate. Id.

        Plaintiff’s suggestion that disclosure of the settlement amount and releases related thereto

are protected as attorney work product also holds no weight. The defendant does not seek

documents related to plaintiff’s counsels’ evaluation of the value of the case or negotiations

leading up to the settlement agreement. The amount received in settlement from the UMass

defendants can hardly be deemed confidential work product. Moreover, the releases were most

likely drafted by counsel for the defendants. Thus, plaintiff should not be permitted to shield

them from discovery by arguing that they are privileged work product.

        While in years past there have been conflicting views regarding when and to what extent

a party can compel disclosure of a confidential settlement agreement, in recent years the balance

of the courts considering this issue have favored liberal discovery of these agreements where

                                                   4
         Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 5 of 7



some legitimate relevance to the request exists. See Bennet, 112 F.R.D. at 138; Qulez-Velar v.

Ox Bodies, Inc., 2014 WL 4385314 (D.P.R. 2014). As noted by the Quelez-Velar Court, all

decisions from the First Circuit have favored the Bennett rule of liberal discovery. Id. at *2

(referencing Atchinson Casting Corp., 216 F.R.D. at 227; Cook v. CTC Communication Corp.,

2006 WL 3313838 at *3 (D.N.H. 2006); Energy North Natural Gas v. Century Indemnity Co.,

200 WL 33667085 at *1 (D.N.H. 2000)).

       In addition to the clear relevance in assessing the value of the case and potential exposure

of Dr. Magnani, discovery of the releases may reveal a potential bias or prejudice of the parties

to the settlement agreement, who will likely be called to testify at the trial of the case against the

remaining defendants. Fairness should allow a non-settling party to evaluate whether a given

settlement agreement potentially affects the prospective testimony of witnesses at a trial. See

Bennet, 112 F.R.D. at 139.

       This is a serious medical malpractice action involving claims of wrongful death. Dr.

Magnani’s ability to “evaluate the plaintiff’s case against [her] depends upon an awareness of the

terms and conditions of the settlement with the codefendants...” Id. at 140. “Fairness cannot be

achieved when one side is needlessly blindfolded.” Id.

III.   Conclusion

       For the reasons set forth above, the defendant, Janet Magnani, M.D.’s Motion to Compel

should be ALLOWED and this Honorable Court should enter and ORDER directing plaintiff to

further answer Interrogatory number 23 and produce documents responsive to Request for

Production number 19.




                                                  5
         Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 6 of 7




                                            Respectfully submitted,


                                            /s/ Kevin C. Reidy

                                            Kevin C. Reidy, B.B.O. No. 567760
                                            Attorney for Defendant,
                                            Janet Magnani, M.D.
                                            Martin, Magnuson, McCarthy & Kenney
                                            101 Merrimac Street
                                            Boston, Massachusetts 02114
                                            Tel: (617) 227-3240
                                            kreidy@mmmk.com




                                CERTIFICATE OF SERVICE

I, Kevin C. Reidy, Esq. certify that the above MEMORANDUM OF LAW OF DEFENDANT,
JANET MAGNANI, M.D., IN SUPPORT OF MOTION TO COMPEL FURTHER
DISCOVERY RESPONSES filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing and paper copies will be
sent to those indicated as not registered participants.


                                            /s/ Kevin C. Reidy


                                            Kevin C. Reidy, B.B.O. No. 567760
                                            Attorney for Defendant,
                                            Janet Magnani, M.D.
                                            Martin, Magnuson, McCarthy & Kenney
                                            101 Merrimac Street
                                            Boston, Massachusetts 02114
                                            Tel: (617) 227-3240
                                            kreidy@mmmk.com




FILED ON: September 19, 2016



                                                6
Case 4:15-cv-40106-MGM Document 38 Filed 09/19/16 Page 7 of 7




                              7
